                      Case 1:21-cv-00213-CJN Document 62 Filed 07/07/23 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                     District
                                               __________     of Columbia
                                                           District of __________


                 U.S. Dominion, Inc., et al.                   )
                             Plaintiff                         )
                                v.                             )      Case No.      1:21-cv-00213-CJN
                     Rudolph W. Giuliani                       )
                            Defendant                          )

                                                APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          US Dominion, Inc., Dominion Voting Systems, Inc. and Dominion Voting Systems Corporation                     .


Date:          07/07/2023                                                               /s/ Jonathan J. Ross
                                                                                          Attorney’s signature


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